                Case 10-42751-RTL                           Doc 7           Filed 11/03/10 Entered 11/03/10 14:28:00                             Desc Main
                                                                            Document      Page 1 of 7
B6B (Official Form 6B) (12/07)


          }
          k
          b
          {
          1
          S
          c
          h
          e
          d
          u
          l
          B
          -
          P
          r
          s
          o
          n
          a
          p
          t
          y




  In re          Michael W. Ackerman,                                                                                       Case No.       10-42751
                 Michele Ackerman
                                                                                                                ,
                                                                                               Debtors
                                           SCHEDULE B - PERSONAL PROPERTY - AMENDED
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

1.    Cash on hand

2.    Checking, savings or other financial
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.

7.    Furs and jewelry.

8.    Firearms and sports, photographic,
      and other hobby equipment.

9.    Interests in insurance policies.
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each
    issuer.




                                                                                                                                       Sub-Total >                  0.00
                                                                                                                           (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                                  Best Case Bankruptcy
                Case 10-42751-RTL                           Doc 7           Filed 11/03/10 Entered 11/03/10 14:28:00                             Desc Main
                                                                            Document      Page 2 of 7
B6B (Official Form 6B) (12/07) - Cont.




  In re          Michael W. Ackerman,                                                                                       Case No.       10-42751
                 Michele Ackerman
                                                                                                                ,
                                                                                                Debtors
                                           SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

11. Interests in an education IRA as
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint
    ventures. Itemize.

15. Government and corporate bonds
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.

17. Alimony, maintenance, support, and
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor
    including tax refunds. Give particulars.


19. Equitable or future interests, life
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                       Sub-Total >                  0.00
                                                                                                                           (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                                  Best Case Bankruptcy
                Case 10-42751-RTL                           Doc 7           Filed 11/03/10 Entered 11/03/10 14:28:00                             Desc Main
                                                                            Document      Page 3 of 7
B6B (Official Form 6B) (12/07) - Cont.




  In re          Michael W. Ackerman,                                                                                       Case No.        10-42751
                 Michele Ackerman
                                                                                                                ,
                                                                                                Debtors
                                           SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

22. Patents, copyrights, and other
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other
    general intangibles. Give
    particulars.

24. Customer lists or other compilations
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                          2010 Dodge Caravan (used)                                               J                     13,925.00
    other vehicles and accessories.

26. Boats, motors, and accessories.

27. Aircraft and accessories.

28. Office equipment, furnishings, and
    supplies.

29. Machinery, fixtures, equipment, and
    supplies used in business.

30. Inventory.

31. Animals.

32. Crops - growing or harvested. Give
    particulars.

33. Farming equipment and
    implements.

34. Farm supplies, chemicals, and feed.

35. Other personal property of any kind
    not already listed. Itemize.




                                                                                                                                       Sub-Total >          13,925.00
                                                                                                                           (Total of this page)
                                                                                                                                            Total >         13,925.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                                   (Report also on Summary of Schedules)
Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                                  Best Case Bankruptcy
                 Case 10-42751-RTL                           Doc 7           Filed 11/03/10 Entered 11/03/10 14:28:00                                     Desc Main
                                                                             Document      Page 4 of 7
 B6C (Official Form 6C) (4/10)


           E
           }
           x
           b
           e
           k
           m
           1
           p
           {
           t
           S
           c
           h
           d
           u
           l
           C
           -
           P
           r
           o
           y
           a
           i
           s




   In re          Michael W. Ackerman,                                                                                         Case No.           10-42751
                  Michele Ackerman
                                                                                                                   ,
                                                                                                Debtors
                               SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
 Debtor claims the exemptions to which debtor is entitled under:                                          Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                          $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                               with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                         Value of                 Current Value of
                    Description of Property                                                Each Exemption                             Claimed                  Property Without
                                                                                                                                     Exemption               Deducting Exemption
Automobiles, Trucks, Trailers, and Other Vehicles
2010 Dodge Caravan (used)                                                      11 U.S.C. § 522(d)(2)                                               0.00                     13,925.00




                                                                                                                   Total:                          0.00                     13,925.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                                             Best Case Bankruptcy
                 Case 10-42751-RTL                           Doc 7           Filed 11/03/10 Entered 11/03/10 14:28:00                              Desc Main
                                                                             Document      Page 5 of 7
 B6D (Official Form 6D) (12/07)


           }
           e
           b
           c
           k
           u
           1
           r
           {
           S
           d
           h
           C
           l
           a
           i
           m
           s
           D
           -
           t
           o
           H
           n
           g




   In re          Michael W. Ackerman,                                                                                           Case No.     10-42751
                  Michele Ackerman
                                                                                                                    ,
                                                                                                   Debtors
                       SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS - AMENDED

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                              C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                 O                                                              O    N   I
                                                              D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                               B   W            NATURE OF LIEN, AND                           I    Q   U                      PORTION, IF
                                                              T   J          DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                 O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                  C               OF PROPERTY
                                                              R
                                                                                 SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No.                                                           Purchase Money Security                                     E
                                                                                                                                  D

Capital One Auto Finance                                              2010 Dodge Caravan (used)
3901 Dalla Pkwy
Plano, TX 75093
                                                                  J

                                                                       Value $                               13,925.00                         32,855.76           18,930.76
Account No.




                                                                       Value $
Account No.




                                                                       Value $
Account No.




                                                                       Value $
                                                                                                                          Subtotal
 0
_____ continuation sheets attached                                                                                                             32,855.76           18,930.76
                                                                                                                 (Total of this page)
                                                                                                                           Total               32,855.76           18,930.76
                                                                                                 (Report on Summary of Schedules)

 Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                                  Best Case Bankruptcy
                 Case 10-42751-RTL                           Doc 7           Filed 11/03/10 Entered 11/03/10 14:28:00                                  Desc Main
                                                                             Document      Page 6 of 7
 B6F (Official Form 6F) (12/07)


           }
           n
           b
           s
           k
           e
           1
           c
           {
           u
           S
           r
           h
           d
           N
           o
           l
           p
           F
           i
           -
           C
           t
           y
           a
           m
           H
           g
           U




   In re          Michael W. Ackerman,                                                                                         Case No.      10-42751
                  Michele Ackerman
                                                                                                                      ,
                                                                                                   Debtors

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                            C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                        O                                                                  O   N   I
                    MAILING ADDRESS                                         D   H                                                              N   L   S
                  INCLUDING ZIP CODE,                                       E                 DATE CLAIM WAS INCURRED AND                      T   I   P
                                                                                W
                 AND ACCOUNT NUMBER
                                                                            B               CONSIDERATION FOR CLAIM. IF CLAIM                  I   Q   U
                                                                                                                                                           AMOUNT OF CLAIM
                                                                            T   J                                                              N   U   T
                                                                            O                 IS SUBJECT TO SETOFF, SO STATE.                  G   I   E
                   (See instructions above.)                                R
                                                                                C
                                                                                                                                               E   D   D
                                                                                                                                               N   A
Account No.                                                                         deficiency on lease default                                T   T
                                                                                                                                                   E
                                                                                                                                                   D

Ford Motor Credit Company
c/o William E. Craig, Esq.                                                      J
110 Marter Avenue, Suite 301
Moorestown, NJ 08057
                                                                                                                                                                         Unknown
Account No.




Account No.




Account No.




                                                                                                                                             Subtotal
 0
_____ continuation sheets attached                                                                                                                                              0.00
                                                                                                                                   (Total of this page)
                                                                                                                                               Total
                                                                                                                     (Report on Summary of Schedules)                           0.00


 Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                    S/N:30798-100831   Best Case Bankruptcy
            Case 10-42751-RTL                           Doc 7           Filed 11/03/10 Entered 11/03/10 14:28:00                     Desc Main
                                                                        Document      Page 7 of 7

B8 (Form 8) (12/08)
                                                                 United States Bankruptcy Court
                                                                               District of New Jersey
             Michael W. Ackerman
 In re       Michele Ackerman                                                                                       Case No.   10-42751
                                                                                          Debtor(s)                 Chapter    7


                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION - AMENDED

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Capital One Auto Finance                                                                  2010 Dodge Caravan (used)

 Property will be (check one):
        Surrendered                                                            Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                     Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                  Describe Leased Property:                       Lease will be Assumed pursuant to 11
 Ford Credit                                                     Auto Lease                                      U.S.C. § 365(p)(2):
                                                                                                                    YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date November 3, 2010                                                        Signature   /s/ Michael W. Ackerman
                                                                                          Michael W. Ackerman
                                                                                          Debtor


 Date November 3, 2010                                                        Signature   /s/ Michele Ackerman
                                                                                          Michele Ackerman
                                                                                          Joint Debtor




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                                          Best Case Bankruptcy
